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                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                          *CRIMINAL NO. 6:07CR60037-01

 VERSUS                                            *JUDGE WALTER

 ARTHUR BASALDUA                                   * MAGISTRATE JUDGE HILL

                                MEMORANDUM ORDER

         Currently before court is the Motion for Transcripts filed by Arthur Basaldua

 (“Basaldua”). [rec. doc. 466]. By this Motion, Basaldua seeks free copies of his plea and

 sentencing transcripts to assist him in connection with his Motion to Vacate pursuant to

 28 U.S.C. § 2255. The Motion was referred to the undersigned for disposition. [rec. doc.

 471].


         Basaldua argues that the transcripts are necessary for him to demonstrate that

 defense counsel was ineffective at his plea and sentencing hearing because counsel failed

 to call two government witnesses who allegedly would have provided favorable testimony

 against the imposition of a sentencing enhancement based on obstruction of justice. He

 further argues that he “wishes not to commit perjury when litigating his present claims.”

 [rec. doc. 466].


         At the time Balsaldua filed the instant Motion, Basaldua also filed his § 2255

 Motion in which he asserts his ineffective assistance of counsel claim [rec. doc. 468], as

 well as a Notice of Intent to Amend his Motion “upon completion of adequate

 investigation when I receive pleas and sentencing transcripts to identify all available
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 claims.” [rec. doc. 467]. In support of his Motion to Vacate, Basaldua submits the

 affidavit of Man Tran (one of the government witnesses who allegedly will provide

 favorable testimony), in which Tran declares that “I have never felt threatened, nor have I

 ever been threatened in any form or fashion by Arthur Basaldua.” [rec. doc. 468, pg. 15].


        An indigent defendant has no constitutional right to acquire a free copy of his

 transcript or other court records for use in a collateral proceeding. See United States v.

 MacCollom, 426 U.S. 317, 325-26, 96 S.Ct. 2086, 48 L.Ed.2d 666 (1976); United States

 v. Peralta-Ramirez, 266 Fed. Appx. 360 (5 th Cir. 2/20/08). To obtain a transcript at

 government expense, the movant must satisfy 28 U.S.C. § 753(f). See Harvey v. Andrist,

 754 F.2d 569, 571 (5th Cir.1985); United States v. Davis, 369 Fed. Appx. 546 (5 th Cir.

 3/9/10).


        Section 753(f) “provides for a free transcript for indigent prisoners asserting a

 claim under § 2255 if a judge certifies that the asserted claim is not frivolous and that the

 transcript is needed to decide the issue.” United States v. MacCollom, 426 U.S. 317,

 320-21, 96 S.Ct. 2086, 48 L.Ed.2d 666 (1976) (internal quotation marks omitted); Davis,

 supra. The movant therefore must “bring to [the court's] attention any facts that might

 require a close examination of the trial transcript” to demonstrate that the transcript is

 necessary for the proper disposition of his claims. Harvey, 754 F.2d at 571; Davis,

 supra.; United States v. Watson, 61 Fed. Appx. 919 (5 th Cir. 2/19/03).




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        In this case, the court cannot certify that Basaldua’s claim is not frivolous or that

 the requested transcripts are needed for proper disposition of the claim. Complaints of

 uncalled witnesses are not favored in federal habeas corpus review because the

 presentation of testimonial evidence is a matter of trial strategy and because allegations of

 the content of a prospective witness’ testimony are largely speculative. Sayre v.

 Anderson, 238 F.3d 631, 635-36 (5 th Cir. 2001) citing Lockhart v. McCotter, 782 F.2d

 1275, 1282 (5 th Cir. 1986), Marler v. Blackburn, 777 F.2d 1007, 1010 (5 th Cir. 1985),

 Murray v. Maggio, 736 F.2d 279, 282 (5 th Cir. 1984), United States v. Cockrell, 720 F.2d

 1423, 1427 (5 th Cir. 1983) and Buckelew v. United States, 575 F.2d 515, 521 (5 th Cir.

 1978); Evans v. Cockrell, 285 F.3d 370, 377(5 th Cir. 2002). “[W]ithout a specific,

 affirmative showing of what the missing evidence or testimony would have been, a

 habeas court cannot even begin to apply Strickland 's standards because it is very difficult

 to assess whether counsel's performance was deficient, and nearly impossible to

 determine whether the petitioner was prejudiced by any deficiencies in counsel's

 performance.” Anderson v. Collins, 18 F.3d 1208, 1221 (5 th Cir. 1994).


        Moreover, where the only evidence of a missing witness’s testimony is from the

 defendant, courts view such claims with great caution. Sayre, 238 F.3d at 636 citing

 Lockhart, 782 F.2d at 1282, Marler, 777 F.2d at 1010, Murray, 736 F.2d at 282,

 Cockrell, 720 F.2d at 1427, and Buckelew , 575 F.2d at 521. Thus, “[a] prisoner's bald

 conclusory assertion that [favorable] witnesses were not called does not serve to


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 ‘overcome the strong presumption that his counsel's actions were reasonable.’" Sayre, 238

 F.3d at 636 citing Marler, 777 F.2d at 1010.


        Moreover, to demonstrate the requisite Strickland prejudice, the petitioner must

 show not only that the witness’ testimony would have been favorable, but also that the

 witness was available and willing to testify. Alexander v. McCotter, 775 F.2d 595, 602

 (5 th Cir. 1985); Boyd v. Estelle, 661 F.2d 388, 390 (5 th Cir. 1981).


        In his Motion, Basaldua cites two unnamed government witnesses who will

 allegedly provide favorable testimony on this issue; in his Motion to Vacate he cites three

 such witnesses – Man Tran, Melissa Maturin and defense counsel Randal McCann. [See

 rec. doc. 468, pg. 5]. However, Basaldua provides only a single affidavit in support of

 the missing witnesses’ testimony. Under the above cited jurisprudence, it appears clear

 that Basaldua’s mere speculation with respect to the alleged testimony of Melissa Maturin

 and defense counsel Randal McCann is insufficient to justify habeas corpus relief.

        Furthermore, the affidavit of Man Tran is not persuasive. Tran merely states his

 subjective belief that he was not threatened by Balsaldua. However, as noted by the Fifth

 Circuit on direct appeal, under United States v. Searcy, 316 F.3d 550, 552-553 (5 th Cir.

 2002), the subjective perception of the recipient of a message need not be considered in

 determining whether a threat has been made. [See rec. doc. 427, pg. 4, United States v.

 Basaldua, No. 09-30415 (5 th Cir. 5/13/2010)].




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        Finally, to the extent that Basaldua requests copies of the transcripts “to identify all

 available claims”, such a request is clearly improper. A § 2255 movant is not entitled to

 conduct a “fishing expedition” to locate possible errors. Watson, 61 Fed. Appx. at 919,

 *1 citing Jackson v. Estelle, 672 F.2d 505, 506 (5th Cir.1982); United States v. Carvajal,

 989 F.2d 170, 170 (5th Cir. 1993) (“Carvajal cannot now conduct a fishing expedition to

 see if he can find something in the grand jury minutes that might support further relief

 under § 2255.”); Walker v. United States, 424 F.2d 278, 278-79 (5th Cir. 1970) (“A

 federal prisoner is not entitled to obtain copies of court records at Government expense

 for the purpose of searching the record for possible error.”). Accordingly;


        IT IS ORDERED that the instant Motion for Transcripts [rec. doc. 466] is

 denied.


        Signed in chambers in Lafayette, Louisiana on this 14 th day of June, 2011.




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